Case: 5:12-cV-00110-KKC Doc #: 1 Filed: 04/11/12 Page: 1 of 4 - Page |D#: 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF KENTUCKY

 

JAMES TOMLINS
Plaintiff,
vs. Civil Action No.

CREDIT BUREAU SYSTEMS, INC.

Defendant,

--/\_/\_/\.,/\»/\u_¢/\_./\-¢/\*f'\-/\-/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

JAMES TGMLINS, (“Piaintiff”), through the undersigned Counsel, LAW OFFICE OF
JOHN FOOTE. alleges the following against CREDIT BUREAU SYSTEMS, INC.,
(“Defendant”):

INTRODUCTION

1. This is an action for actual and statutory damages brought by plaintiff Jarnes
Tomlins (hereinafter “Plaintiff”), an individual consumer, against defendant Credit Bureau
Systems, ine. (hereinafter “Defendant”) for violations ofthe Fair Debt Collection Practices Act,
15 U.S.C. § l692 et seq. (hereinafter “FDCPA”) which prohibits debt collectors from engaging
in abusive, deceptive, and unfair practices

JURISDICTION

2. Jurisdiction ofthis court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § l337
and § 1331. Venue in this Dis‘n'ict is proper in that the Defendant transacts business here and the
conduct complained of occurred here

P_AR.TIM
3. Plairitiff, James rl`oinlins is a consumer, a natural person allegedly obligated to

pay any debt, residing in the State of Kentucky.

Case: 5:12-cV-00110-KKC Doc #: 1 Filed: 04/11/12 Page: 2 of 4 - Page |D#: 16

4. Det`endant, Credit Bureau Systeins, lne. is a foreign corporation engaged in the
business of collecting debt in this state With its principal place of business located in the state of
Kentucl<y. The principal purpose of Det`endant is the collection of debts in this State and
Defendant regularly attempts to collect debts alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers using the mail
and telephone. Del`endant regularly attempts to collect consumer debts alleged to be due to
another Det`endant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

FACTUAL ALLEGATIONS

6. Upon information and belief, Within one year prior to the filing of this complaint,
Defendant called Plaintit`f, seeking and demanding payment for an alleged consumer debt OWed
under an account number.

7. The debt that Defendant is attempting to collect on is an alleged obligation of a
consumer to pay money arising out of a transaction in Which the money, property, insurance or
services Which are the subject of the transaction are primarily for personal, 'family, or household
purposes, Whether or not such obligation has been reduced to judgment

8. Upon information and belief, Det`endant began contacting Plaintit`f and placing
collection calls to Plaintiff sometime prior to April of 2012.

9. Upon information and belief, within one year from the filing of this complaint,
Defendant called Plaintiff, and threatened to sue hint itself as Well as garnish his Wages itselt`;
when only the current creditor could seek to take some of said threatened action against him.

10. Upon information and belief, Defendant, during communications With Plaintiff,
within one year from the filing of this complaint, did not state that it Was a debt collector,

attempting to communicate a debt, and that any information Would be used for that purpose

_ Case: 5:12-cV-00110-KKC Doc #: 1 Filed: 04/11/12 Page: 3 of 4 - Page |D#: 17

ll. As a result of the acts alleged above, Plaintiff suffered emotional distress resulting

in him feeling stressed, amongst other negative emotions

12. Defendant’s illegal abusive collection communications as more fully described

above Were the direct and proximate cause of severe emotional distress on the part of Plaintiff.

ML_I_E£
13. Plaintiff repeats and realleges and incorporates by reference to the foregoing

paragraphs

14. l)efendant violated the FDCPA. Defendant’s violations include, but are riot

limited to, the following:

(a) Defendant violated §] 692fof the FDCPA by using unfair or

unconscionable means in connection With the collection of an alleged
debt; and

(b) Defendant violated §]692€(]0) of the FDCPA by using false,

deceptive, or misleading representation or means in connection with the
collection of Plaintiff`s alleged debt', and

(c) Defendant violated §l 692@(2)(15') of the FDCPA by falsely
representing the services rendered or compensation Which may be lawfully
received by the Defendant for the collection of the alleged debt; and

(d) Defendant violated §16926(5) of the FDCPA by threatening to take
action that it did not intend to take; and

(e) Defendant violated §]6922(1]) of the FDCPA by failing to disclose in
the oral communications With Plaintiff that the communications Were from a
debt collector, and that the debt collector Was attempting to collect a debt, and
that any information obtained Would be used for that purpose, When said
communications Were not formal pleadings

15. Defendant’s acts as described above Were done intentionally With the purpose of

coercing Plaintiff to pay the alleged debt

16. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

plaintiff .lames Tomlins for actual damages, statutory damages, and costs and attorney fees

Case: 5:12-cV-00110-KKC Doc #: 1 Filed: 04/11/12 Page: 4 of 4 - Page |D#: 18

WHEREFORE, Plaintiff JAMES TOMLINS respectfully requests that judgment be
entered against defendant Credit Bureau Systerns, lnc. for the following:

A. Actaal damages from each Defendant pursuant to 15 U.S.C. § l692k(a)(l) for the
emotional distress suffered as a result of the intentional and/or negligent FDCPA
violations, in an amount to be determined at trial and for Plaintift`,

B. Statutory damages pursuant to 15 U.S.C. § l692l<.
C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 16921<.

D. For such other and further relief as the Cotirt may deem just and proper.

DEMAND son JURY TRIAL
PLsAsi-s TAKE Norics tila PiainarrJAMEs roMLrNs demands trial by jury in this
action
rha ii‘*‘ day erAprir, 2012.
assrschULLY soai\/iir'rsr),
LAW orrica or ronN roori~:

/s/John Foofe
John Foote
LaW Offlce of John Foote
36 West 5th Street
Covington, KY 410] l
(859) 655-3001

`Iohnfoote@fuse.net

Of Counsel to:

Alex Simanovsky & Associates, LLC
2300 Henderson Mili Road, Suite 300
Atlanta, Georgia 30345

(770) 414-1002

alex afdc ala eronline.corn

